     Case 6:21-cv-00280-JDK-KNM Document 71 Filed 05/23/22 Page 1 of 5 PageID #: 362

PRISONER S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)
                                                                                          / 0 ' > I H i/(' /
                                                                                                   ¦ I > , t
                                IN THE U ITED STATES DISTRICT COU T
                              FOR THE DISTRICT OF TEXAS
                                              1 \j iec division

Plaintiff s Name and ID Number

     q          Ur                 >           U             i              I
Place                  of       Confinement                                        „.      .   „
                                                                         CASE NO. ' UA O
                                                                            (Clerk will assign the number)
v.




Defendant s Name and Address



Defendant’s Name and Address

I sto n toec o                                                   A t               O '
Defendant’s Name and Address
(DO NOT USE ETAL. )

                                    INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your com laint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as VENUE LIST is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.



                                                             1
                                                                                                        Rev. 05/15
     Case 6:21-cv-00280-JDK-KNM Document 71 Filed 05/23/22 Page 2 of 5 PageID #: 363

FILING FEE AND IN FORMA PAUPERIS (IFF)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. If you do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in for a pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides ... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee. See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. If you intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked NOTICE TO THE COURT OF CHANGE OF ADDRESS and shall not include any motion for any
other relief. Failure to file a NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.


I. PREVIOUS LAWSUITS:
        A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? YES \/ NO
        B. If your answer to “A is “yes , describe each lawsuit in the space below. (If there is more than one
             lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

             1. Approximate date of filing lawsuit:
             2. Parties to previous lawsuit:
                 Plaintif                                                                      s)
                 Defendant(s)
             3. Court: (If federal, name the district; if state, name the county.)
             4.            Cause                                     number:

             5. Name of judge to whom case was assigned:
             6. Disposition: (Was the case dismissed, appealed, still pending?)
             7. Approximate date of disposition:

                                                                                                         Rev. 05/15
                                                             2
        Case 6:21-cv-00280-JDK-KNM Document 71 Filed 05/23/22 Page 3 of 5 PageID #: 364

 II.     PLACE OF PRESENT CONFINEMENT:W A CI i f I Wl

 III.     EXHAUSTION OF GRIEVANCE PROCEDURES: Z
          Have you exhausted all steps of the institutional grievance procedure? V YES NO
          Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

          PARTIES TO THIS SUIT:
          A. Name and address of plaintiff:                                           0 ' 10         PpSOlH




          B. Full name of each defendant, his official position, his place of employment, and his full mailing address.


             Defendant #1: ( iCCpcHy JfeSS UnKmMn fteof

             Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
... i I\ P tnlxtf                  ) PhinK ff LDt RS uza jo
                              ..      .     .     .                ..      l7n|
             Defendant #2: I > S /P ( :Qe                                frnD UAv\ \ 3 1 F1 VM

              Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
                       ( Q\\nWX C .                      i \ oCw\OA\on
              Defendant#3: S Ov C\O S'>X *C)V\ Gi*00 x0 3


              Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
 I n A SntB QwifiA Vi- fafesafe j alter re oesW A Uor. .n affaW inuAfaj,
              Defendant #4: A Aon Oe cA)fi.\ FlV) V?> Za &S5€CCo|cyi.(
              Tx                                      -
              Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.



              Defendant                                                                     #5:


              Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.




                                                                                                       Rev. 05/15
                                                             3
            Case 6:21-cv-00280-JDK-KNM Document 71 Filed 05/23/22 Page 4 of 5 PageID #: 365

V.               STATEMENT OF CLAIM:
                 State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
                 when did it happen, and who was involved. Describe how each defendant is involved. You need not give
                 any le al arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
                 and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
                 complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
                 STRIKE YOUR COMPLAINT.




                 rew nfejy vaH ti er Tor Ptom )flsSctfe t jMeofe
                       n\o fegCAef(x\ P Qv>ATiffsC To S4oTvS(X Op
 Tcfeenfefe (fete fefe Wfe AefeOvV uas Ofl o Ti eCosfey feSuffi Aj
        in                                   fet(>y£XS
     efe                        fefr) fe bt feoo X c cm qU > (fe                                                  i n        <
     C VjnVAtf XfeA \0Q qfe\ YukiO So l A n S A To feet
       ¦A X fei KoCfek fe cfefegfeiwoAe ,
VI. RELIEF:
                   State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
                   statutes.

             C A \k> oT TAOjOOoeife enfeV Covf)penS W\/t f 9e o{oDoe( cVikrgfe;T
             IoY TW- ce\\ Tif -YooA                              n fe
VII. GENERAL BACKGROUND INFORMATION:
                   A. State, in complete form, all names you have ever used or been known by including any and all aliases.



                   B. List allTDCJ-CID identificaiton numbers you have ever been assigned and all other state or federal
                           prison or FBI numbers ever assigned to you.




 VIII.                                                    SANCTIONS:                                                   /
                   A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES y NO
                   B. If your answer is yes, give the following information for every lawsuit in which sanctions were
                       imposed. (If more than one, use another piece of paper and answer the same questions.)

                             1. Court that imposed sanctions (if federal, give the district and division):

                             2.                           Case      number:

                             3. Approximate date sanctions were imposed:
                             4. Have the sanctions been lifted or othe ise satisfied? YES NO

                                                                                                               Rev. 05/15
                                                                         4
    Case 6:21-cv-00280-JDK-KNM Document 71 Filed 05/23/22 Page 5 of 5 PageID #: 366
      C. Has any court ever warned or notified you that sanctions could be imposed?                             NO
      D. If your answer is yes, give the following information for every lawsuit in which a warning was issued.
           (If more than one, use another piece of paper and answer the same questions.)

          1.   Court that issued warning (if federal, give the district and division): fe(5kf .\Y Yr iCjc|~
          2.   Case                       number:                                    (p           i
          3.   Approximate date wa                                       ing was issued:



Executed                                                                        on:
                DATE

                                                                            (Signature of Plaintif )


PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
          and correct.
      2. I understand, if I am released or transferred, it is my responsibility to keep the court informed of my
            current mailing address and failure to do so may result in the dismissal of this lawsuit.
      3. I understand I must exhaust all available administrative remedies prior to filing this lawsuit.
      4. I understand I am prohibited from brining an in forma pauperis lawsuit if I have brought three or more
            civil actions or appeals (from a judgment in a civil action) in a court of the United States while
           incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
           frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
           imminent danger of serious physical injury.
      5. I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
           filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
           inmate trust account by my custodian until the filing fee is paid.



Signed this                                day of                  , 20
                      (Day) (month) (year)




                                                                            (Signature of Plaintiff)


WARNING: Plaintiff is advised any false or deliberately misleading information provided in res onse to the
above questions may result in the impo ition of sanction . The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.




                                                                                                   Rev. 05/15
                                                         5
